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Attorney for Defendant Natalya Babichenko

                IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO

                                        )
UNITED STATES OF AMERICA,               )   Case No. CR 18-0258-S-BLW
                                        )
            Plaintiff,                  )   DEFENDANT NATALYA
                                        )   BABICHENKO’S NOTICE OF
      vs.                               )   JOINDER IN MOTION TO DISMISS
                                        )   FOR MISCONDUCT BEFORE THE
                                        )   GRAND JURY
PAVEL BABICHENKO,                       )
GENNADY BABICHENKO,                     )
PIOTR BABICHENKO,                       )
                                        )
TIMOFEY BABICHENKO,                     )
KRISTINA BABICHENKO,                    )
NATALYA BEBICHENKO,                     )
DIVID BIBIKOV,                          )
ANNA IYERUSALIMETS,                     )
MIKHAIL IYERUSALIMETS,                  )
ARTUR PUPKO,                            )
                                        )
            Defendants.                 )



      Defendant Natalya Babichenko, through her attorney, hereby joins in the

Motion to Dismiss for Misconduct Before the Grand Jury (Dkt. No. 374) upon the

same grounds set forth in said Motion. Defendant Natalya Babichenko adopts the

arguments set forth in said Motion.

      Respectfully submitted this 27th day of February, 2020.


                                      ______/s/__________________
                                      J. D. Merris
                                      Attorney for Defendant Natalya Babichenko

DEFENDANT NATALYA BABICHENKO’S NOTICE OF JOINDER
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of February, 2020, I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system which sent a
Notice of Electronic Filing to the following persons.

                                 Bart M. Davis
                                 United States Attorney
                                 Katheryn Horwitz and
                                 Christian Nafzger
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                                 Other parties as more fully reflected
                                 on the Notice of Electronic Filing


                                              /s/               .
                               J. D. MERRIS




DEFENDANT NATALYA BABICHENKO’S NOTICE OF JOINDER
IN MOTION TO DISMISS FOR MISCONDUCT BEFORE THE GRAND JURY - 2
